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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                     06/27/2018
-----------------------------------------------------------------------------x
                                                                                    16-MC-125 (JMF)
In re Application of ACCENT DELIGHT
                                                                                     18-MC-50 (JMF)
INTERNATIONAL LTD. and XITRANS FINANCE LTD.
for an Order Under 28 U.S.C. § 1782 to
                                                                                 MEMORANDUM OPINION
Conduct Discovery for Use in Foreign Proceedings
                                                                                     AND ORDER
-----------------------------------------------------------------------------x

JESSE M. FURMAN, United States District Judge:

        In an Opinion and Order entered on June 11, 2018, familiarity with which is presumed, the

Court granted (1) Petitioners’ motion for an order authorizing them to use discovery materials they

had previously obtained pursuant to Title 28, United States Code, Section 1782 in connection with

other foreign proceedings; and (2) a new Section 1782 petition seeking discovery from Respondent

Sotheby’s, Inc. (Docket No. 163 (“Opinion”)).1 On June 15, 2018, Sotheby’s moved for a stay

pending appeal. (Docket No. 165).

        Upon review of the parties’ motion papers, the Court grants in part and denies in part

Sotheby’s stay motion. The Court agrees with Petitioners that Sotheby’s arguments on the merits

are not ultimately persuasive. For example, Sotheby’s presses two arguments — that the Court

ignored the presumption against extraterritoriality in holding that Section 1782 allows for discovery

of materials outside the United States (Docket No. 166, at 9-10) and failed to consider “the newly

implemented General Data Protection Regulation” (id. at 11) — that it did not press in its original

papers and, thus, waived. See, e.g., In re Nortel Networks Corp. Sec. Litig., 539 F.3d 129, 132-33

(2d Cir. 2008). Additionally, the Court is inclined to agree with Petitioners that the presumption

against extraterritoriality has no bearing on the question decided by the Court, as Sotheby’s — the

party from whom discovery is sought — is located within the United States. Notably, courts have

long construed the Federal Rules of Civil Procedure to allow for discovery of documents located


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abroad where they are in the possession, custody, or control of a party — even though the Rules do

not explicitly speak to such extraterritorial reach. (See Opinion 7).

       That said, the Court agrees that a stay is warranted to allow Sotheby’s to seek appellate

review of the Court’s holding that Section 1782 can reach documents abroad. As the Court noted,

many judges in this Circuit have taken Sotheby’s position on that issue. (See id. at 6-7 (citing

cases)). And the Second Circuit has arguably endorsed it too, albeit in dicta. (See id. at 7 (citing In

re Application of Sarrio, S.A., 119 F.3d 143, 147 (2d Cir. 1997)). Given that authority, the potential

burdens on Sotheby’s in complying with the Court’s Opinion and Order, and the fact that the

proverbial bell cannot be unrung once Sotheby’s discloses the information at issue, the Court

concludes that a stay is warranted to maintain the status quo while Sotheby’s seeks a definitive

ruling on that issue from the Second Circuit. See, e.g., Jock v. Sterling Jewelers, Inc., 738 F. Supp.

2d 445, 447 (S.D.N.Y. 2010) (granting a stay pending appeal on the ground that “[the] appeal

presents an issue of first impression,” even though “the Court remain[ed] confident in the soundness

of [its] reasons.”); see also, e.g., Project Vote/Voting for Am., Inc. v. Long, 275 F.R.D. 473, 474

(E.D. Va. 2011) (“The court is not persuaded to tacitly abandon its ruling and find that the

defendants are likely to succeed on appeal. However, as this case is one of first impression that

touches on matters of substantial national importance, there is certainly a ‘substantial case on the

merits.’”); Simon Prop. Grp., Inc. v. Taubman Ctrs., Inc., 262 F. Supp. 2d 794, 798 (E.D. Mich.

2003) (noting that, in considering a request for a stay pending appeal, “a court is not required to find

a substantial likelihood that the movant will be successful on appeal. Rather, a movant can satisfy

this element where substantial legal questions or matters of first impression are at issue and the

equities favor maintaining the status quo.”).

       By contrast, the Court sees no basis to stay its ruling to the extent that it authorized

Petitioners to use discovery they already have in connection with other foreign proceedings or to the

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extent that it authorized discovery from Sotheby’s of materials or information within the United

States (including the taking of a deposition pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure). Indeed, none of the factors to be considered in weighing whether to grant a stay cut in

favor of staying those portions of the Court’s ruling. See, e.g., Nken v. Holder, 556 U.S. 418, 426

(2009) (reciting the four factors). Accordingly, Sotheby’s motion for a stay pending appeal is

GRANTED with respect to the production of materials found abroad and otherwise DENIED.2

       The Clerk of Court is directed to terminate Docket No. 165.


       SO ORDERED.

Dated: June 27, 2018
       New York, New York




2
        Petitioners suggest that electronic documents Sotheby’s claims are located on servers
outside the United States should not be considered to be located abroad. (See Docket No. 170, at 9
(“Sotheby’s has never articulated a coherent view of what it means for an email or other electronic
document to be ‘found’ in a given location. It simply assumes, for example, that its employees’
emails are found exclusively on its servers.”)). There is reason to doubt the merits of that
suggestion. See e.g., In re Search of Info. Associated with [redacted]@gmail.com that is Stored at
Premises Controlled by Google, Inc., No. 16-MJ-00757 (BAH), 2017 WL 3445634, at *2 (D.D.C.
July 31, 2017) (assuming that electronic communications are located where the servers on which
they are stored are located); cf. S.E.C. v. Straub, 921 F. Supp. 2d 244, 264 n.13 (S.D.N.Y. 2013)
(assuming that in storing electronic communications on servers located within the United States,
Defendants used an instrumentality of interstate commerce sufficient to confer jurisdiction). In any
event, out of an abundance of caution and because Petitioners do not adequately brief the issue, the
Court expressly notes that the stay extends to production of any e-mails, files, or documents stored
on servers located outside the United States.
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